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                                                 UNITED STATES DISTRICT
                                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                                   SOUTHERN DIVISION

                            BRUCE MEYERS, et al.
                                Plaintiffs,                                  Case No.: 17-cv-10623
                                                                           Honorable Denise Page Hood
                                  v.
                                                                                    MOTION
                            VILLAGE OF OXFORD, et al,
                                 Defendants
                                                                 /

                            OUTSIDE LEGAL COUNSEL PLC                    DAVIS BURKET SAVAGE
OUTSIDE LEGAL COUNSEL PLC




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                            MOTION TO DISQUALIFY ATTORNEY ROBERT CHARLES DAVIS AND
                             HIS LAW FIRM AS COUNSEL OF RECORD FOR ALL DEFENDANTS

                                  NOW COMES Plaintiffs BRUCE MEYERS, KALLIE ROESNER-

                            MEYERS, and EUGENIA CALOCASSIDES, by and through counsel, and

                            moves to disqualify attorney ROBERT CHARLES DAVIS as counsel of

                            record, as well as his law firm, Davis Burket Savage Listman Taylor, for “all

                            defendants” as listed ECF No. 9 pursuant to Rules 1.7, 3.7, and 1.10 of the

                            Michigan Rules of Professional Conduct and related case law.




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                                      CONCISE STATEMENT OF THE ISSUES PRESENTED

                             Is Defendant Robert Charles Davis and his law firm disqualified from
                             serving as counsel for all defendants in this case?
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                              CONTROLLING / APPROPRIATE AUTHORITY FOR RELIEF SOUGHT

                             Mich. R. Prof. Conduct 3.7(a)
                             Mich. R. Prof. Conduct 1.7(b)
                             Mich. R. Prof. Conduct 1.10(a)
                             Aleynu, Inc. v. Universal Prop. Dev. and Acquisition Corp,
                                   564 F.Supp.2d 751 (2008)
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                                                                BRIEF

                                  This case involves three individuals who have served and been

                             serving as police reservists with the Village of Oxford Police Department.

                             See ECF No. 7. Plaintiffs were issued badges and uniforms by the Police

                             Chief bearing the name and authority of the Village of Oxford Police

                             Department. They were authorized by Village administration and publicly

                             thanked for their service and participation before the Village Council.
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                             Plaintiffs represented the Village of Oxford with the Michigan Multi-
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                             Jurisdictional Mounted Police Drill Team, which was asked to be part of

                             then President-elect Donald J. Trump’s inauguration festivities in

                             Washington, D.C. in late January 2017. It was approved by Village

                             administration, namely the Police Chief. Exhibit G. Substantial time and

                             resources were spent in preparation for this event—after all, transporting

                             several half-ton creatures and their gear across multiple states is not

                             something that can happen on a whim. Then, a completely unexpected and

                             uncalled for melt down happened at the January 10, 2017 Village Council

                             meeting and serves as the basis for this legal action.

                                  At the January 10, 2017, meetings certain members of the Village

                             Council ‘dressed down’ the Police Chief and became unglued by news of

                             their Village’s Horse Mounted Unit going to President Trump’s inauguration



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                             festivities. Throughout the meeting, members of the Village Council

                             questioned, interfered, and impinged upon Plaintiffs’ reputation, good

                             name, honor, and integrity (a liberty right under the 14th Amendment) by

                             being part of Village of Oxford’s Reserve Officer’s Horse Mounted Unit,

                             even to the point of falsely accusing certain Plaintiffs of previously violating

                             the penal law by impersonating police officers. It was uncalled for and

                             (likely in the absence of immunity) would constitute defamation. Defendant
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                             Robert Charles Davis was an active participant in this attack. Shortly after
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                             this meeting, Davis wrote various letters to Plaintiffs stripping them of their

                             Village police positions. And when formally requesting name-clearing

                             hearings, Davis is believed to be an active participant with the other

                             defendants in refusing to provide this due process right.

                                    Davis is the village attorney for the Village of Oxford. Unlike a typical

                             attorney-client relationship, the Village Attorney is an administrative public

                             office created and operating under the color of law. Village of Oxford Code

                             of Ordinances, §5.3, available at https://goo.gl/k1tYz0.1 The Village

                             Attorney has a seat at the Council table at all public meetings, participates

                             in the deliberation, formulation, and execution of Village policy, and aids in

                             the decision-making outcomes of the Village Council. The January 10,
                                    1
                                     “[T]he administrative officers of the Village shall be the Clerk, the Treasurer, the
                             Assessor, the Village Attorney, the Police Chief, the Fire Chief, the Health Officer, and the
                             Department of Public Works Superintendent, and all other officers approved by the Council.”


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                             2017 meeting was no different by Davis. During the January 10, 2017

                             meeting, he was an active participant in the meeting; he also advocated his

                             position as part of deliberations. For example, Davis spoke as a public

                             officer during the meeting as follows:

                                   Can I speak for a second here? I'm piecing together the facts and I've
                                   been watching the facts develop over the last couple days. It seems
                                   to me that when the President is saying we're not disputing that, I
                                   think she's saying that the substance of the request of the request
                                   sounds great. You know, if we were buying new desks and drawers
                                   the substance of that request could sound great. I think what we're
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                                   facing here is the problem that the request, bundled up and
                                   presented as an agenda item, put on for Council action, reviewed by
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                                   everybody prior to a meeting and at a meeting, the chance to ask
                                   questions, and then a vote; that procedure never happened. So we're
                                   not, I don't think anyone is disputing that this might be a great
                                   substantive thing *** but what I'm hearing is that this matter never,
                                   like the purchase of an ink pen, never came to Council for approval.
                                   That's what I'm hearing.

                             See https://youtu.be/3H7yYslZS8k?t=1h42m49s (Jan 10, 2017 meeting).

                             Later, the President of Village Council, Sue Bassardet, made a motion to

                             not only disqualify the existence of the Mounted Horse Unit but also strip

                             Plaintiffs of their public position with the Village of Oxford Police

                             Department. See https://youtu.be/3H7yYslZS8k?t=1h56m46s (Jan 10,

                             2017 meeting). On information and belief, Davis created and drafted that

                             motion before the January 10, 2017 meeting in a pre-planned way to

                             destroy the Plaintiffs’ reputation, good name, honor, and integrity—a right

                             protected by federal law, see e.g. Chilingirian v. Boris, 882 F.2d 200, 205

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                             (CA 6, 1989). Later, Davis (and not the Council under its letterhead) wrote

                             Plaintiffs allegedly “informing” the latter they were no longer members of

                             any police reserve unit of any kind with respect to the Village of Oxford; the

                             Village has not authorized any relationship with any of you by way of a

                             reserve unit, parade tern, drill team, color guard, mounted division, or

                             otherwise (which is contrary to Exhibit G); Village has not authorized or

                             sanctioned any of you, individually or as a team, to portray or represent
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                             yourself as part of the Village of Oxford Police Department, reserve or
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                             otherwise; and more. Exhibit J.

                                   Plaintiffs then demanded name-clearing hearings. See Exhibits M

                             and N. Davis (likely in concert with other defendants acting under the color

                             of law) refused to provide it. It is believed Davis consulted with now-

                             outgoing Village Manager Davis and President Sue Bassardet to prevent

                             anyone in the Village, be it the Village manager or the Village council, from

                             providing the required name-clearing hearings, which would bring to light

                             these Defendants’ individual and collective wrongful actions.

                                   In short, Davis was not acting merely as an advising or consulting

                             attorney but affirmatively and actively acting as a public official under the

                             color of law who has the individual legal duty and responsibility not to

                             deprive citizens of their federal civil rights under the color of law.



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                                  Throughout the interaction by the undersigned demanding a name-

                             clearing   hearing,   Davis    would       respond   or     providing     emailed

                             letters/statements allegedly acting on behalf of the Village Council in the

                             role of Village attorney—a public office. However, none of these actions

                             were done pursuant to a vote or voted-upon direction by the Village Council

                             in responding to the Plaintiffs’ demands for their federal due process rights.

                             Repeatedly, the undersigned indicated that Davis cannot serve as counsel
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                             in this case because he was a necessary witness and a party-defendant.
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                                  Despite the notices and warnings, Davis, a name party, appeared as

                             counsel for all defendants on March 15, 2017. ECF No. 9. The undersigned

                             immediately wrote to Davis re-informing him of MRPC 3.7, confirming

                             federal courts’ enforcement of said rule, and requested he voluntarily

                             withdraw. Exhibit O. He has refused to do so and instead wrote more

                             communications vaguely requesting concurrence for an alleged violation of

                             Rule 15 and dismissal under Rule 12(b). This motion now follows.

                                                      MEMORANDUM OF LAW

                                  MRPC 3.7(a) provides that:

                                  A lawyer shall not act as advocate at a trial in which the lawyer is
                                  likely to be a necessary witness except where:

                                        (1) the testimony relates to an uncontested issue;




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                                           (2) the testimony relates to the nature and value of legal
                                           services rendered in the case; or

                                           (3) disqualification of the lawyer would work substantial
                                           hardship on the client.

                             Mich. R. Prof. Conduct 3.7(a). None of the three exceptions apply here. In

                             the commentary of Rule 3.7, the drafters explained that

                                   Combining the roles of advocate and witness can prejudice the
                                   opposing party and can involve a conflict of interest between the
                                   lawyer and client.
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                                   The opposing party may properly object where the combination of
                                   roles may prejudice that party's rights in the litigation. A witness is
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                                   required to testify on the basis of personal knowledge, while an
                                   advocate is expected to explain and comment on evidence given by
                                   others. It may not be clear whether a statement by an advocate-
                                   witness should be taken as proof or as an analysis of the proof.

                             Courts confronted with this question have erred on the side of safety. For

                             example, Judge Lawson applied Rule 3.7 to preclude an attorney from

                             representing a client when the attorney himself had a legal interest in the

                             underlying outcome of the case. Aleynu, Inc. v. Universal Prop. Dev. and

                             Acquisition Corp, 564 F.Supp.2d 751 (2008). This makes sense as Judge

                             Lawson explained2 that while courts must be sensitive to the competing

                             public policy interests of preserving client confidences and of permitting a

                             party to retain counsel of his choice, the interest sought by the rule is to


                                   2   Judge Lawson seemingly originally raised the issue of disqualification sua
                             sponte.


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                             protect the opposing party by preventing counsel from arguing that the

                             lawyer's   own testimony ought to be believed,              and making the

                             disqualification purely personal strips the possibility of some of its potential

                             for abuse. Id. And as the standard for the instant motion, Aleynu counsels

                             that extensive involvement by the conflicted attorney with all parties on both

                             sides of the lawsuit renders intolerable the likelihood that he will slip into

                             and out of his roles as advocate and fact witness.
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                                   Interestingly, Judge Lawson disqualified the attorney when the
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                             attorney was simply only participating as counsel (not a named party) in the

                             case. In the instant case, Davis’ conflict is even greater, as he is a named-

                             party—a far greater role than merely as an attorney. Like in Aleynu, Davis’

                             extensive involvement, including his own potential personal liability, renders

                             intolerable the likelihood that he will slip into and out of his roles as

                             advocate and fact witness because he is expressly acting to be both in this

                             case. This is improper. Davis, as both a necessary witness and a party-

                             defendant, possesses an insurmountable conflict of interest that prejudices

                             not only his own clients for whom he appeared (as he may need to point to

                             one or more as being the real liable party) but also the plaintiffs in this

                             matter. When “there is a reasonable possibility that some specifically

                             identifiable impropriety actually occurred” an attorney should be disqualified



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                             as an attorney in the case. Plaintiffs have affirmatively alleged that

                             identifiable impropriety and requested resulting civil penalties under Section

                             1983. Aleynu, supra (citing Moses v. Sterling Commerce (America), Inc.,

                             122 Fed.Appx. 177, 184 (CA 6, 2005)); see also ECF No. 9.

                                   In addition, Rule 1.7 and Rule 1.10 are applicable here as well. Rule

                             1.7(b) provides—

                                   A lawyer shall not represent a client if the representation of that client
                                   may be materially limited by the lawyer's responsibilities to another
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                                   client or to a third person, or by the lawyer's own interests unless
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                                         (1) the lawyer reasonably believes the representation will not be
                                         adversely affected; and

                                         (2) the client consents after consultation. When representation
                                         of multiple clients in a single matter is undertaken, the
                                         consultation shall include explanation of the implications of the
                                         common representation and the advantages and risks involved.

                             Rule 1.10(a) provides—

                                   While lawyers are associated in a firm, none of them shall knowingly
                                   represent a client when any one of them practicing alone would be
                                   prohibited from doing so by Rules 1.7….

                             Michigan Ethics Opinion RI-281, in addressing Rule 3.7, advises, “[i]f the

                             lawyer's expected testimony will be adverse to the client, MRPC 1.7(b)

                             would be applicable, and if the lawyer is precluded from trying the case

                             under that Rule, the disability would be imputed to other firm members.”




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                             State Bar of Michigan Ethics Opinion RI-281 (Sept 11, 1996).3 And while

                             Rule 3.7(b) envisions an attorney acting as advocate in a trial in which

                             another lawyer in the lawyer's firm is likely to be called as a witness, Rule

                             1.10 independently requires otherwise. Aleynu, supra, at 758-759.

                                                                  ARGUMENT

                                   If the probity of a lawyer's own conduct in a circumstance is in serious

                             question, it may be impossible for the lawyer to give a client detached
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                             advice, which in turn will undoubtedly cause the challenged attorney to slip
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                             into and out of his roles as advocate and fact witness which is prejudicial to

                             the opposing parties. This is why Rule 3.7 exists. Because Davis more than

                             just a “likely witness” (and an almost guaranteed witness as a named party-

                             defendant in his role acting under the color of law), and also a key

                             participant at all stages of the circumstances that make up the basis of this

                             suit (including his own reasonable likelihood of civil rights liability), he is

                             precluded and disqualified from being counsel this case pursuant to MRPC

                             3.7(a).

                                   Moreover, this case cannot be transferred to another attorney in

                             Davis’ law firm because the lawyer’s expected testimony will be adverse to

                             the client and MRPC 1.7(b) would be applicable, whereby the lawyer is


                                   3   http://www.michbar.org/opinions/ethics/numbered_opinions/ri-281


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                             precluded from trying the case under that Rule and the disability would be

                             imputed to other firm members under Rule 1.10(a). In short, Davis has to

                             sit this one out as counsel and advocate for the defendants under

                             professional responsibilities rules and the rationale of Aleynu. There is

                             clearly no shortage of highly qualified, independent attorneys in the metro

                             Detroit area who can serve the interests of all defendants who lack the

                             disqualifying conflict of interest existing with Davis.
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                                   Moreover, Rule 1.10(a) and Rule 1.7(b) also preclude Davis’ law firm,
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                             Davis Burket Savage Listman Taylor, from acting as alternate counsel in

                             this case.

                                                         RELIEF REQUESTED

                                   Wherefore, Plaintiffs request this Court to enter an order disqualifying

                             Defendant ROBERT CHARLES DAVIS (and his law firm Davis Burket

                             Savage Listman Taylor) from appearing and serving as counsel of record

                             for all defendants solely related to this case. The Court is requested to

                             grant defendants a reasonable amount of time secure new counsel in this

                             matter.




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                                   Date: March 19, 2017                RESPECTFULLY SUBMITTED:

                                                                       /s/ Philip L. Ellison
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                                                                       Attorney for Plaintiffs

                                                    CERTIFICATE OF SERVICE
OUTSIDE LEGAL COUNSEL PLC




                                   I hereby certify that on date stated below, I filed the foregoing
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                             document with the ECF/CM system which will serve an email copy of the

                             same to all counsel of record (at their email address of record) on the date

                             stated below.

                                   Date: March 19, 2017                RESPECTFULLY SUBMITTED:

                                                                       /s/ Philip L. Ellison
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